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         6
         7   ATTORNEYS FOR DEFENDANT
             CASSANDRA MOORE
         8
         9
                                 IN THE UNITED STATES DISTRICT COURT
        10                     FOR THE EASTERN DISCTRICT OF CALIFORNIA
        11
              UNITED STATES OF AMERICA,                        CASE NO. Cr. 09-0230-JAM
        12
                                        Plaintiff,
        13                                                     EX PARTE APPLICATION FOR AN ORDER
        14    vs.                                              PERMITTING DEFENDANT TO TRAVEL FROM
                                                               CALIFORNIA TO THE DISTRICT OF IDAHO TO
        15    CASSANDRA MOORE, et.al.                          ATTEND A FUNERAL OF A FAMILY MEMBER

        16                            Defendants.
        17
        18           Comes now Defendant Cassandra Moore and respectfully requests permission to
        19
             travel from California to the District of Idaho, to attend the funeral for Defendant’s late aunt
        20
             Grace Henry in Lewiston, Idaho during the weekend of August 15, 2009. Current Ms.
        21
        22   Moore is restricted by pretrial conditions of release to the Eastern and Central Districts of

        23   California, and the funeral for Ms. Moore’s aunt will be conducted in Lewiston, Idaho during
        24
             the weekend of August 15, 2009, according permission is requested to permit the Defendant
        25
             to travel to and from the District of Idaho between August 14, 2009 and August 17, 2009. I
        26
        27   attempted contact call Assistant U.S. Attorney Robin Taylor and Ms. Taylor’s voice mail

        28   reflected that she was out of her office until August 17, 2009.
                                                           1
             EX PARTE APPLICATION AND PROPOSED ORDER PERMITTING                  CASE NO. Cr. 09-0230-JAM
             DEFENDANT MOORE TO TRAVEL TO AND FROM THE
             DISTRICT OF IDAHO FOR A FUNERAL



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         2
         3   Dated: June 28, 2009                               /s/ Donald H. Heller
                                                                Donald H. Heller
         4                                                      DONALD H. HELLER,
                                                                A Law Corporation
         5
                                                                Attorney for Defendant
         6                                                      Cassandra Moore
         7
         8
                                                      ORDER
         9
        10      GOOD CAUSE APPEARING, It is hereby Ordered that Defendant Cassandra Moore’s

        11   Travel restricts are hereby modified allowing Ms. Moore to travel from California on August
        12
             14, 2009 to Lewiston, Idaho and to return from Lewiston, Idaho to California on August 17,
        13
             2009. IT IS SO ORDERED.
        14
        15   Dated: August 12, 2009                      /s/ John A. Mendez________
                                                         John A. Mendez
        16                                               United States District Judge
        17
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             EX PARTE APPLICATION AND PROPOSED ORDER PERMITTING             CASE NO. Cr. 09-0230-JAM
             DEFENDANT MOORE TO TRAVEL TO AND FROM THE
             DISTRICT OF IDAHO FOR A FUNERAL



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